                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF OHIO

 IN RE:                                          )     CASE NO.: 22-10571
                                                 )
 MATTHEW M. MOTIL,                               )     CHAPTER 7
                                                 )
          Debtor.                                )     JUDGE SUZANA KRSTEVSKI KOCH
                                                 )
                                                 )     TRUSTEE VIRGIL E. BROWN JR.’S
                                                 )     WITHDRAWAL OF AMENDED MOTION

       Virgil E. Brown, Jr., the Trustee is this matter, moves the Court to withdraw his Amended

Application for an Order to Employ Special Counsel to Pursue Claims on a Contingent Fee

Basis [Doc. 172]; his Notice of Trustee’s Amended Motion to Employ Counsel [Doc. 173]; and

his Order Authorizing Trustee to Employ Special Counsel for the Estate, all submitted to this

Court on June 14, 2024.

       Trustee Brown withdrawals these documents due to clerical errors in the filings and is

correcting and refiling concurrently herewith.

                                                     Respectfully submitted,


 Dated: June 19, 2023                                  /s/ Virgil E. Brown Jr.
                                                      VIRGIL E. BROWN JR. (0003675)
                                                      4070 Mayfield Road
                                                      Cleveland, OH 44121
                                                      Virgil@vebtrustee.com




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                               CERTIFICATE OF SERVICE

       I hereby certify that on June 19, 2024, a copy of the foregoing Withdrawal was served via
the Court’s electronic filing system and/or email on these entities and individuals:

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                                                   /s/ Virgil E. Brown Jr.
                                                   Virgil E. Brown, Jr. (0003675)




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